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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:23-cv-02171-REB-SBP

  JOHN DOE,

         Plaintiff,

  v.

  JUSTIN WILLIS, and
  SUSANNE MARTINEZ,

         Defendants.


       ORDER SETTING CONSENT DEADLINE AND SCHEDULING CONFERENCE


          This matter is before this court sua sponte. The above-captioned case has been referred
  to Magistrate Judge Susan Prose pursuant to D.C.COLO.LCivR 40.1. If the parties have not done
  so already, they shall complete and file the Magistrate Judge Consent Form on or before
  January 18, 2024.

          The Fed. R. Civ. P. 16(b) Scheduling Conference shall be held telephonically on
  February 1, 2024, at 10:30 a.m., in Courtroom C-205, on the second floor of the Byron G.
  Rogers United States Courthouse located at 1929 Stout Street, Denver, Colorado. The parties
  shall attend by calling 571-353-2301, Guest meeting ID- 868150043. All attendees shall please
  mute their phone when not speaking and not use speaker phone.

          Plaintiff shall notify all parties who have not yet entered an appearance of the date and
  time of the scheduling conference.

          If this date is not convenient, the parties shall confer and contact chambers by email to
  obtain an alternate date. All parties must be copied on the email if they agree to change the
  conference date; otherwise, any party seeking to change the conference date must file a motion.
  Absent exceptional circumstances, no request for rescheduling will be entertained unless made
  five business days prior to the date of the conference.

         Counsel for the parties and any unrepresented non-prisoner parties in this case are to hold
  a meeting in accordance with Fed. R. Civ. P. 26(f) on or before January 11, 2024 and jointly
  prepare a proposed Scheduling Order.
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          Pursuant to Fed. R. Civ. P. 26(d), only requests pursuant to Fed. R. Civ. P. 34 may be
  submitted before the Rule 26(f) meeting, unless otherwise ordered or directed by the Court.
  Pursuant to Fed. R. Civ. P. 34(b)(2)(A), responses to such discovery requests must be submitted
  no later than 30 days after the Rule 26(f) meeting, unless the parties stipulate or the Court orders
  otherwise.

        The parties shall prepare the proposed Scheduling Order in accordance with the form that
  may be downloaded from the Forms section of the Court’s website. See www.cod.uscourts.gov.

         The parties shall file the proposed Scheduling Order with the Clerk’s Office, and in
  accordance with District of Colorado Electronic Case Filing (“ECF”) Procedures, no later than
  five business days prior to the scheduling conference. The parties shall also email the
  proposed Scheduling Order in Word format to Magistrate Judge Prose at
  Prose_Chambers@cod.uscourts.gov.

         Parties not participating in ECF shall file their proposed Scheduling Order on paper with
  the Clerk’s office. However, if any party in this case is participating in ECF, it is the
  responsibility of that party to file the proposed scheduling order pursuant to the District of
  Colorado ECF Procedures.

         The parties shall adhere to the Sedona Principles regarding disputes relating to electronic
  discovery. See www.thesedonaconference.org.

          The parties shall file a proposed Order under Fed. R. Evid. 502(d) on or before 14 days
  after the Scheduling Conference.

         All discovery motions shall be made in compliance with Magistrate Judge Prose=s
  discovery procedures. See www.cod.uscourts.gov.

         Any out-of-state counsel shall comply with D.C.COLO.LAttyR 3 prior to the scheduling
  conference. Failure to appear at a court-ordered conference or to comply with a court-ordered
  deadline which has not been vacated by the Court may result in the imposition of sanctions.

         Anyone seeking entry into the Byron G. Rogers United States Courthouse will be
  required to show a valid photo identification. See D.C.COLO.LCivR 83.2(b).

         IT IS SO ORDERED.

  DATED: November 15, 2023                              BY THE COURT:



                                                        Susan Prose
                                                        United States Magistrate Judge
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